                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 3:10-00258
                                                 )      JUDGE CAMPBELL
VINCENTE ARELLANO-GARCIA                         )

                                         ORDER

      Pending before the Court is a Motion to Substitute Counsel for Purposes of Plea Hearing

(Docket No. 309). The Motion is GRANTED.

      It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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